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                Exhibit 3
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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BANK OF AMERICA, N.A.,                           )
                                                 )
             Plaintiff,                          )
                                                 )
v.                                               ) Case No. 19-cv-3097
                                                 )
RAMAHA DENTAL P.C.; HYDE PARK                    ) Honorable Jorge L. Alonso
UNIVERSAL DENTAL, LLC; PULASKI                   )
UNIVERSAL DENTAL LLC; STONE                      )
PARK DENTAL, INC.; UNIVERSAL                     )
DENTAL LLC; UD GROUP, LLC; and                   )
AHMED RAMAHA, Individually,                      )
                                                 )
              Defendants.                        )


                       AFFIDAVIT OF NATALIA R. GRIESBACH IN
                      SUPPORT OF ATTORNEYS’ FEES AND COSTS

        I, Natalia R. Griesbach, being first duly sworn upon oath and pursuant to 28 U.S.C §

1746, depose and state as follows:

       1.      I am over the age of 18. I have personal knowledge of the matters set forth herein

and if called upon to testify would and could do so as set forth herein.

       2.      I am a partner at Lowis & Gellen, LLP. Lowis & Gellen LLP (“L&G”) represents

Plaintiff Bank of America, N.A. (“BANA”) in the above-captioned matter.

       3.      Between February 12, 2019 and August 7, 2019, BANA incurred legal fees in the

amount of $11,050.00 representing 36.3 hours of legal services provided by L&G attorneys in

enforcing BANA’s loan documents in the above-captioned matter. In addition, BANA incurred

$1,070.00 in costs in this matter. True and correct copies of L&G’s billing statements, 1 with

records created contemporaneously with the rendering of legal services, are attached hereto as
1
 The invoices are redacted to exclude privileged material. Line items marked “n/c” reflect items for
which legal services were rendered but not charged to BANA.

                                                 1
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Group Exhibit A.

      4.        The hourly rate charged is $350 for partners, $300 to $325 for senior associates,

$225 for junior associates, and $150 for paralegals.

      5.        Billing code “NRG” represents time billed by me at the hourly rate of $350. I

have 17 years of legal experience, including in the field of commercial and general litigation,

banking and workouts. Billing code “AEP” represents time billed by L&G senior associate

Allison Pietras at the hourly rate of $325. Billing code “DMW” represents time billed by L&G

junior associate David M. Woolf at an hourly rate of $225. Ms. Pietras and Mr. Woolf have been

practicing law for 8 and 4 years, respectively, with a majority of their practice dedicated to

representing financial institutions in workouts and commercial litigation nationwide. Billing

code “AB1” represents time billed by Amy Bockman at the hourly rate of $150, which represents

the rate billed for paralegals.

      6.        The rate charged per hour and the number of hours spent are fair and reasonable

and are within the normal standards of the legal community for the type of services performed.

        FURTHER AFFIANT SAYETH NOT.

        I declare under penalty of perjury that the foregoing is true and correct.

Dated: August 13, 2019                                 By:    s/Natalia R. Griesbach
                                                                Natalia R. Griesbach




                                                  2
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           Group Exhibit A
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